                Case 1:11-cr-00576-WHP Document 730
                                                731 Filed 10/19/20
                                                          10/20/20 Page 1 of 1




                                                      October 19, 2020


                                                 Application granted. The parties are to
                                                 provide a status report by November 19, 2020.
Via ECF
Hon. William H. Pauley
United States District Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

               Re:     United States v. Pinero
                       11 Cr. 576                              October 20, 2020



Dear Judge Pauley:

        I write to update the Court on Mr. Pinero’s matter. I have reviewed all of the relevant
documents in this matter and have had continued discussions with Mr. Pinero by phone. As
the Court is aware, Mr. Pinero is deeply invested in this matter and is thus far satisfied with
my representation. Given the history of his assigned counsel, however, I would be much
more comfortable moving forward after I have had the opportunity to see him in person at
least once, if not more. As the MCC and MDC are now scheduling in-person visits, I am
planning to schedule those visits in the near future.

        After discussing the matter with AUSA Rohrbach, who consents, I am requesting that
the joint status letter due date be reset for an additional 30 days from today, to November 19,
2020.

       Thank you for your consideration.



                                                      Respectfully submi
                                                                   submitted,



                                                      Peter
                                                      P     E. B
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